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                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

  UNITED STATES OF AMERICA,             )   No.
                                        )
                          Plaintiff,    )   COUNTS 1, 5, 7, 9, and 11:
                                        )   CONSPIRACY TO VIOLATE THE
          vs.                           )   LACEY ACT
                                        )    Vio. of 18 U.S.C. § 371
  CASEY RICHARDSON,                     )
  DALE LACKNER, and                     )   COUNTS 2, 6, 8, 10, and 12:
  JEFFREY HARRIS,                       )   FALSE RECORD
                                        )    Vio. of 16 U.S.C. §§ 3372(d)(2) and
                          Defendants.   )   3373(d)(3)(B) and 18 U.S.C. § 2
                                        )
                                        )   COUNT 3:
                                        )   VIOLATION OF THE LACEY ACT
                                        )    Vio. of 16 U.S.C. §§ 3372(a)(2)(A),
                                        )   3373(d)(2), and 3373(d)(3)(B)
                                        )
                                        )   COUNTS 4 and 13:
                                        )   FALSE STATEMENTS
                                        )    Vio. of 18 U.S.C. § 1001(a)(2)
                                        )




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                                                 )   COUNT 14:
                                                 )   UNLAWFUL BAITING OF GAME
                                                 )    Vio. of 36 C.F.R. § 2.2(b)(4) and
                                                 )   18 U.S.C. § 2
                                                 )
                                                 )   COUNT 15:
                                                 )   CONSPIRACY TO USE SUBSTANCE
                                                 )   TO INCAPACITATE GAME
                                                 )    Vio. of 18 U.S.C. § 371
                                                 )

                                            __

                                    INDICTMENT

       The Grand Jury charges that:

                                GENERAL ALLEGATIONS

       At all times material to this Indictment:

       1.       Wrangell-St. Elias National Park and Preserve (“WRST”), Alaska, is

managed by the National Park Service, Department of the Interior.

       2.       The National Park Service (“NPS”) has the authority to enforce Title 16 of

the United States Code within the exterior boundaries of WRST.

       3.       The United States Fish and Wildlife Service is also authorized to enforce

Title 16 of the United States Code within the confines of WRST.

       4.       Unindicted Co-conspirator A, a resident of Alaska, was a registered

guide/outfitter with the State of Alaska.

       5.       Ptarmigan Lake Lodge (“PLL”) operated as a sole proprietorship, was

located within WRST and permitted to operate as a concessionaire to provide sport

hunting guide services under NPS contract CC-WRST012-07. The hunt area within

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WRST, and where the hunting activities were conducted is within the boundaries

of State of Alaska Game Management Unit 12.
      6.       CASEY RICHARDSON was a resident of Montana. RICHARDSON was

not a registered licensed guide with the State of Alaska in 2014 and 2015.

      7.       DALE LACKNER was a resident of Alaska. LACKNER received his

assistant guide license on June 18, 2015 (#100610).

      8.       JEFFREY HARRIS, a resident of the State of Washington, was employed

by the PLL as a horse wrangler. HARRIS also performed maintenance functions for the

lodge. HARRIS was not a guide-outfitter or assistant guide registered with the State of

Alaska in 2014 and 2015.

      9.       In 2014 no hunt reports were submitted by PLL to the Alaska Big Game

Commercial Services Board or to the NPS, as required by PLL’s Big Game Guide

License and PLL’s concession with the NPS. Failure to file hunt reports indicated to the

State of Alaska and the Big Game Commercial Services Board that no wildlife had been

harvested by PLL clients in hunt year 2014.

      10.      Hunter C.M. was a resident of South Dakota.

      11.      Hunter R.C. was a resident of Alaska.

      12.      Hunter D.W. was a resident of Arkansas.

      13.      Hunter J.W. was a resident of Georgia.

      14.      Hunter S.T. was a resident of Montana.




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                         RELEVANT LAW AND REGULATIONS

                               Federal Laws and Regulations

          15.   The Lacey Act, Title 16, United States Code, § 3372(a)(1) makes it

unlawful for any person to transport, sell, receive, acquire, or purchase any wildlife taken,

possessed, transported, or sold in violation of any law, treaty, or regulation of the United

States.

          16.   The Lacey Act, Title 16, United States Code, § 3372(a)(2)(A) makes it

unlawful for any person to transport, sell, receive, acquire, or purchase in interstate

commerce any wildlife taken, possessed, transported, or sold in violation of any law or

regulation of any State.

          17.   The Lacey Act, Title 16, United States Code, § 3372(c)(1), states that it is

deemed to be a sale of wildlife in violation of this chapter for a person for money or other

consideration to offer or provide guiding, outfitting, or other services.

          18.   The Lacey Act, Title 16, United States Code, § 3372(c)(2), states that it is

deemed to be a purchase of wildlife in violation of this chapter for a person to obtain for

money or other consideration guiding, outfitting, or other services.

          19.   The Lacey Act, Title 16, United States Code, § 3372(d)(2) makes it

unlawful for any person to make or submit any false record, account, or label for any

wildlife which has been, or is intended to be, transported in interstate commerce.

          20.   Title 36, Code of Federal Regulations, § 2.2(a)(1) makes it unlawful for any

person to take wildlife in a national park, except by authorized hunting and trapping

activities conducted in accordance with paragraph (b) of this section.
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       21.     Title 36, Code of Federal Regulations, § 2.2(b)(4) requires where hunting

or trapping or both are authorized, such activities shall be conducted in accordance with

Federal law and the laws of the State within whose exterior boundaries a park area or a

portion thereof is located. Non-conflicting State laws (Alaska State Statutes) are adopted

as a part of these regulations.

       22.     Title 36, Code of Federal Regulations, § 13.42(b) makes it unlawful to hunt

on a national preserve in violation of either Federal or non-conflicting State laws or

regulations.

       23.     Title 36, Code of Federal Regulations, § 13.42(g)(2) as of

January 1, 2016, prohibits using on a national preserve any poison or other substance that

kills or temporarily incapacitates wildlife.

                          State of Alaska Laws and Regulations

       24.     Alaska State Statute 08.54.600: “Duties of the board”: provides that (a) The

board [Big Game Commercial Services Board] shall (2) authorize the issuance of

registered guide-outfitter, master guide-outfitter, class-A assistant guide, assistant guide,

and transporter licenses after the applicant for the license satisfies the requirements for

the license.

       25.     Alaska State Statute 08.54.720(a)(6): “Unlawful acts” prohibits a person

from knowingly guiding a big game hunt without having a current registered guide-

outfitter, class-A assistant guide, or assistant guide license and a valid Alaska hunting

license in actual possession.


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       26.    Alaska State Statute 08.54.790(9): "guide" means to provide, for

compensation or with the intent or with an agreement to receive compensation, services,

equipment, or facilities to a big game hunter in the field by a person who accompanies or

is present with the big game hunter in the field either personally or through an assistant;

in this paragraph, "services" includes:

              (A) contracting to guide or outfit big game hunts;

              (B) stalking, pursuing, tracking, killing, or attempting to kill big game;

              (C) packing, preparing, salvaging, or caring for meat, except that which is

                 required to properly and safely load the meat on the mode of

                 transportation being used by a transporter;

              (D) field preparation of trophies, including skinning and caping;

              (E) selling, leasing, or renting goods when the transaction occurs in the

                 field;

              (F) using guiding or outfitting equipment, including spotting scopes and

                 firearms, for the benefit of a hunter; and

              (G) providing camping or hunting equipment or supplies that are already

                 located in the field.

       27.    Alaska State Statute 16.05.330(a)(2) makes it unlawful for a person to hunt

without having the appropriate license or tag in possession.

       28.    Alaska State Statute 16.05.340(a)(15) requires nonresident big game

hunters to obtain hunting tags in order to lawfully hunt big game.


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       29.    Alaska State Statute 16.05.370: “Reports by licensees”: provides that the

commissioner may require a report to be made by each licensee concerning the time,

manner, and place of taking fish and game, the kinds and quantity taken, and other

information helpful in administering the fish and game resources of the state.

       30.    Alaska State Statute 16.05.407 requires that nonresident hunters hunting

big game animals must be accompanied by a licensed registered/master guide for

nonresident hunting of brown bear, goat and sheep.

       31.    Title 5, Alaska Administrative Code, 92.044(a): “A person may not

establish a bear bait station to hunt bear with the use of bait or scent lures without first

obtaining a permit.”

       32.    Title 5, Alaska Administrative Code, 92.080(2) makes unlawful, without

permission from the State of Alaska, the use of any poison or other substance that

temporarily incapacitates game.

       33.    Title 5, Alaska Administrative Code, 92.990 (60) – Definitions:

       Personally Accompanied - means staying within 100 yards of the person being

accompanied at the point where an attempt to take game is made.

                                 COUNT 1
                   CONSPIRACY TO VIOLATE THE LACEY ACT
                                (C.M. Sheep)

       34.    Paragraphs 1 through 33 of this Indictment are hereby realleged in their

entirety and incorporated by reference herein.

       35.    Between on or about June 10 and August 22, 2014, within the District of

Alaska, and elsewhere, JEFFREY HARRIS, Unindicted Co-conspirator A, and others
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known and unknown to the Grand Jury, did knowingly combine, conspire, agree and plan

with each other to commit acts in violation of the laws of the United States, to wit:

       To unlawfully and knowingly sell in interstate commerce wildlife with a market

value in excess of $350, by providing guiding, outfitting and other services, for money

and other consideration, for the illegal taking, transporting and possessing in interstate

commerce of wildlife, that is, a Dall Sheep, knowing that the wildlife had been taken,

possessed and transported in violation of and in a manner unlawful under the laws and

regulations of the State of Alaska, specifically Alaska State Statute 16.05.407.

       In violation of Title 16, United States Code, Sections 3372(a)(2)(A) and

3373(d)(1)(B).

                                 MANNER and MEANS

       36. The manner and means by which the conspiracy was carried out by the

defendants, HARRIS, and Unindicted Co-conspirator A included the following:

       In August 2014 a PLL client Hunter C.M., having made a deposit for a guided

Dall Sheep hunt in Alaska with a registered guide, arrived at the PLL to hunt for Dall

Sheep. Hunter C.M. was not an Alaskan resident and was therefore required to be

accompanied by a registered guide to legally hunt for Dall Sheep in Alaska. HARRIS,

who was not an Alaskan resident nor a registered guide, guided Hunter C.M. on his hunt.

Paperwork was filled out falsely by HARRIS to conceal the fact that Hunter C.M.

illegally hunted and killed a Dall Sheep without being accompanied by a registered guide.

The Dall Sheep trophy was transported from the field and shipped in interstate commerce

to the client hunter’s home state of South Dakota.
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                                      OVERT ACTS

       37.    In furtherance of the conspiracy, and to effect the objects thereof, the

following overt acts were committed by the defendants HARRIS, Unindicted Co-

conspirator A, and others in the District of Alaska and elsewhere:

       (OA1) On or about June 10, 2014, Hunter C.M. paid Unindicted Co-conspirator A

a $4,000 deposit by check for a Dall Sheep hunt in Alaska.

       (OA2) On or about August 20, 2014, Hunter C.M. paid HARRIS a $4,000 trophy

fee by check, said check made payable to D.N., HARRIS’ girlfriend at that time.

       (OA3) On or about August 20, 2014, the sheep hunt began when HARRIS took

Hunter C.M. on a hunt for Dall Sheep. The men traveled on horseback into a spike camp;

they were not accompanied by a licensed guide.

       (OA4) At the beginning of the hunt, HARRIS and Hunter C.M. spotted a herd of

sheep that included a mature ram with a full curl. During the hunt and after stalking the

sheep, HARRIS directed Hunter C.M. to shoot. Hunter C.M. successfully killed the Dall

Sheep ram.

       (OA5) After the Dall Sheep was dead, photographs were taken of it. After the

photographs were taken, HARRIS and Hunter C.M. field dressed and skinned the animal

for a life sized taxidermy mount. The meat from the ram, the cape, and the head with

horns were then transported back to the spike camp where the parties spent the night.

       (OA6) The following morning, HARRIS and Hunter C.M. rode the horses back to

PLL with the sheep.


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        (OA7) On or about August 22, 2014, Unindicted Co-conspirator A and Hunter

C.M. signed an Alaska Big Game Commercial Services Board Guide-Outfitter Contract

for a Dall Sheep hunt between August 18 and August 30, 2014.

        (OA8) On August 22, 2014, a hunt record completed by HARRIS and Unindicted

Co-conspirator A reflected that Hunter C.M. took a sheep on August 20, 2014, in the

Cabin Creek area of WRST. This hunt record was not submitted to the State of Alaska.

        (OA9) Hunter C.M. paid $4,000 in cash to Unindicted Co-conspirator A after the

hunt.

        (OA10) Hunter C.M. transported the harvested sheep from Alaska to South

Dakota.

        All of which is in violation of Title 18, United States Code, Section 371.

                                       COUNT 2
                                    FALSE RECORD
                                      (C.M. Sheep)

        38.    Paragraphs 1 through 33 of this Indictment are hereby realleged in their

entirety and incorporated by reference herein.

        39.    On or about August 22, 2014, in the District of Alaska, JEFFREY HARRIS

and Unindicted Co-conspirator A did knowingly make a false record and account of

wildlife, to wit, a false State of Alaska Big Game Commercial Services Board Hunt

Record for a Dall Sheep, in an offense involving the sale and purchase of wildlife with a

market value in excess of $350, to wit, a guided Dall Sheep hunt in WRST, knowing that

the record and account to be provided to the State of Alaska claimed that Hunter C.M.

killed the Dall Sheep ram while being guided by a PLL licensed guide as the “Licensed
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Registered Guide-Outfitter, Class-A or Assistant Guide Accompanying Client in the

Field” when in truth and in fact, as HARRIS and Unindicted Co-conspirator A then

knew, no licensed registered guide-outfitter, Class-A or Assistant Guide was in the field

with Hunter C.M. during the hunt.

       All of which is in violation of Title 16, United States Code, Sections 3372(d)(2)

and 3373(d)(3)(A)(ii) and Title 18, United States Code, Section 2.

                                   COUNT 3
                         VIOLATION OF THE LACEY ACT
                                 (Blonde Bear)

       40.    Paragraphs 1 through 33 of this Indictment are hereby realleged in their

entirety and incorporated by reference herein.

       41.    Between on or about August, 2014 and on or about October, 2015, within

the District of Alaska, and elsewhere, JEFFREY HARRIS did unlawfully and knowingly

transport in interstate commerce wildlife, that is, a blonde grizzly bear in WRST, when in

the exercise of due care, HARRIS should have known that said wildlife was unlawfully

taken, possessed, and transported in violation of and in a manner unlawful under the laws

and regulations of the State of Alaska, specifically Alaska State Statutes 16.05.407 and

16.05.340(a)(15)

       All of which is in violation of Title 16, United States Code, Sections

3372(a)(2)(A), 3373(d)(2) and 3373(d)(3)(B).




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                                      COUNT 4
                                 FALSE STATEMENT
                                    (Blonde Bear)

       42.    Paragraphs 1 through 33 of this Indictment are hereby realleged in their

entirety and incorporated by reference herein.

       43.    On or about May 25, 2016, within the District of Alaska, the defendant

JEFFREY HARRIS did willfully and knowingly make a materially false, fictitious, and

fraudulent statement and representation in a matter within the jurisdiction of the

executive branch of the Government of the United States, to wit: the Department of

Interior, U.S. Fish and Wildlife Service, by stating that he killed a blonde grizzly bear on

August 10, 2014. The statement and representation was false because, as HARRIS then

and there knew he killed the blonde grizzly bear on or before August 8, 2014, knowing

that bear season did not open in State of Alaska Game Management Unit 12 until August

10, 2014.

       All of which is in violation of Title 18, United States Code, Section 1001(a)(2).

                                COUNT 5
                  CONSPIRACY TO VIOLATE THE LACEY ACT
                            (Richardson Sheep)

       44.    Paragraphs 1 through 33 of this Indictment are hereby re-alleged in their

entirety and incorporated by reference herein.

       45.    On or about September 4, 2014, within the District of Alaska, and

elsewhere, CASEY RICHARDSON, DALE LACKNER, and others known and unknown

to the Grand Jury, did knowingly combine, conspire, agree and plan with each other to

commit acts in violation of the laws of the United States, to wit:
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       To unlawfully and knowingly export and transport in interstate and foreign

commerce wildlife, to wit, a Dall Sheep, when in the exercise of due care,

RICHARDSON and LACKNER should have known that said wildlife was unlawfully

taken and transported in violation of the laws and regulations of the State of Alaska,

specifically, Alaska State Statute 16.05.407.

       In violation of Title 16, United States Code, Sections 3372(a)(2)(A), 3373(d)(2)

and 3373(d)(3)(B).

                                MANNER AND MEANS

       46.    The manner and means by which the conspiracy was carried out by the

defendants RICHARDSON and LACKNER included the following:

       In September 2014, RICHARDSON traveled from his residence in Montana to

PLL in Alaska. RICHARDSON was not an Alaskan resident and was therefore required

to be accompanied by a registered guide to legally hunt for Dall Sheep in Alaska.

LACKNER was an Alaska resident and allowed to hunt for Dall Sheep without a

registered guide. Paperwork was filled out falsely by LACKNER to conceal the fact that

RICHARDSON illegally hunted and killed a Dall Sheep without being accompanied by a

registered guide. RICHARDSON did not file required paperwork for the Dall Sheep he

killed to conceal his illegal hunt. LACKNER arranged for the transportation of

RICHARDSON’s illegally killed Dall Sheep trophy from the field in Alaska through

Canada to RICHARDSON’s home state in Montana.




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                                      OVERT ACTS

       47.    In furtherance of the conspiracy, and to effect the objects thereof, the

following overt acts were committed by the defendants RICHARDSON, LACKNER,

and others in the District of Alaska and elsewhere:

       (OA1) On August 30, 2014, RICHARDSON obtained a non-resident brown bear

locking tag (#1404543), having obtained an annual non-resident hunting license

(#4722517) for the 2014 season on November 27, 2013,

       (OA2) On or about September 1, 2014, RICHARDSON arrived at PLL.

       (OA3) On or about September 3, 2014, RICHARDSON, LACKNER, and Hunter

R.C. rode horses out to a location known to those working at PLL as “the High Culvert”

and spent the night.

       (OA4) On or about September 4, 2014, RICHARDSON and Hunter R.C. rode

the horses up the mountain and disembarked to stalk Dall Sheep up the mountain;

LACKNER remained with the horses.

       (OA5) On or about September 4, 2014, RICHARDSON killed a Dall Sheep in

the Rocker Creek Tributary.

       (OA6) On September 5, 2014, RICHARDSON posted on his Facebook account:

“Success!!!! Great two days on the mountain with R.C. and DALE LACKNER! Thank

you for letting me part of a great hunt? (sic).”




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       (OA7) On or about September 12, 2014, LACKNER completed a State of Alaska

Department of Fish and Game Harvest Report for a Dall Sheep identifying himself as the

hunter.

       (OA8) RICHARDSON submitted no hunt reports for bear or sheep in 2014.

       (OA9) On or about September 12, 2014, LACKNER exported the Dall Sheep

trophy through Canada to RICHARDSON in Montana.

       All of which is in violation of Title 18, United States Code, Section 371.

                                       COUNT 6
                                    FALSE RECORD
                                   (Richardson Sheep)

       48.    Paragraphs 1 through 33 of this Indictment are hereby re-alleged in their

entirety and incorporated by reference herein.

       49.    Between on or about September 4, 2014, and September 12, 2014, in the

District of Alaska, CASEY RICHARDSON and DALE LACKNER did knowingly make

a false record and account of wildlife, to wit, a false State of Alaska Department of Fish

and Game Harvest Report for a Dall Sheep, in an offense involving the unlawful and

knowing transport in interstate and foreign commerce of wildlife, to wit, a Dall Sheep,

when in the exercise of due care, RICHARDSON and LACKNER should have known

that said wildlife was unlawfully taken in violation of the laws and regulations of the

State of Alaska, knowing that the hunt record and account to be provided to the State of

Alaska falsely identified LACKNER as the hunter when in truth and in fact, as

LACKNER then knew, RICHARDSON, a non-resident of Alaska, was the hunter and no


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licensed registered guide-outfitter, Class-A or Assistant Guide was in the field with

RICHARDSON during the hunt.

       All of which is in violation of Title 16, United States Code, Sections 3372(d)(2)

and 3373(d)(3)(B) and Title 18, United States Code, Section 2.

                                 COUNT 7
                   CONSPIRACY TO VIOLATE THE LACEY ACT
                                (D.W. Sheep)

       50.    Paragraphs 1 through 33 of this Indictment are hereby re-alleged in their

entirety and incorporated by reference herein.

       51.    Between on or about October 2014 and on or about August 12, 2015,

within the District of Alaska, and elsewhere, CASEY RICHARDSON, DALE

LACKNER, Unindicted Co-conspirator A, and others known and unknown to the Grand

Jury, did knowingly combine, conspire, agree and plan with each other to commit acts in

violation of the laws of the United States, to wit:

       To unlawfully and knowingly sell in interstate commerce wildlife with a market

value in excess of $350, by providing guiding, outfitting and other services, for money

and other consideration, for the illegal taking, transporting and possessing in interstate

commerce of wildlife, that is, a Dall Sheep, knowing that the wildlife had been taken,

possessed and transported in violation of the laws of the State of Alaska, specifically,

AS 16.05.407.

       In violation of Title 16, United States Code, Sections 3372(a)(2)(A) and

§ 3373(d)(1)(B).


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                                MANNER AND MEANS

       52.    The manner and means by which the conspiracy was carried out by the

defendants RICHARDSON, LACKNER, and Unindicted Co-conspirator A, included the

following:

       In August 2015, a PLL client Hunter D.W., having made a deposit for a guided

Dall Sheep hunt in Alaska with a registered guide, arrived at the PLL to hunt for Dall

Sheep. Hunter D.W. was not an Alaskan resident and was therefore required to be

accompanied by a registered guide to legally hunt for Dall Sheep in Alaska.

RICHARDSON, who was not an Alaskan resident nor a registered guide, guided hunter

D.W. on his hunt. Paperwork was filled out falsely by LACKNER and Unindicted Co-

conspirator A to conceal the fact that Hunter D.W. illegally hunted and killed a Dall

Sheep without being accompanied by a registered guide. The Dall Sheep trophy was

transported from the field and shipped in interstate commerce to the client hunter’s home

state of Arkansas.

                                      OVERT ACTS

       53.    In furtherance of the conspiracy, and to effect the objects thereof, the

following overt acts were committed by the defendants RICHARDSON, LACKNER,

Unindicted Co-conspirator A, and others in the District of Alaska and elsewhere:

       (OA1) Between October 2014 through March 2015, RICHARDSON routinely

communicated with Hunter D.W. about his upcoming hunt out of PLL. During the

communications, RICHARDSON provided details about the hunt, providing information

about which game animals were available in the area and the percentage of game animals
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which were legal. RICHARDSON guaranteed a shot at an animal, and during the

communications represented himself as a guide. RICHARDSON arranged the deposit

and payments.

       (OA2) Between January 10, 2015 and January 20, 2015, Hunter D.W. and

Unindicted Co-conspirator A entered into a preliminary big game guide contract for a

Dall Sheep hunt which was to occur between August 8 and August 21, 2015.

       (OA3) Hunter D.W. paid a deposit of $5,000 to Unindicted Co-conspirator A for

the hunt.

       (OA4) On August 9, 2015, Hunter D.W. and Unindicted Co-conspirator A

signed an Alaska Big Game Commercial Services Board Guide-Outfitter Contract for a

grizzly bear and Dall sheep hunt.

       (OA5) Hunter D.W. paid the balance of $7,500 for the hunt to PLL.

       (OA6) After flying into PLL on August 9, 2015, Hunter D.W. was given a tour

of the PLL facility and the surrounding geographical area by LACKNER, HARRIS, and

Unindicted Co-conspirator A.

       (OA7) On or about August 11, 2015, LACKNER took RICHARDSON and

Hunter D.W. by boat to the east end of Ptarmigan Lake; LACKNER then returned to

PLL. RICHARDSON and Hunter D.W. hiked to the “High Culvert” most of the day.

When they reached the top of the pass that evening, they entered a large bowl area.

RICHARDSON and Hunter D.W. worked their way towards a herd of Dall Sheep and

began glassing them. RICHARDSON identified at least two legal rams for Hunter D.W.

to shoot. Shortly thereafter, Hunter D.W. killed a Dall Sheep. RICHARDSON and
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Hunter D.W. caped and field dressed the Dall Sheep and brought it back to Ptarmigan

Lake. The Dall Sheep was skinned by RICHARDSON and Hunter D.W. as a trophy

“shoulder mount.” RICHARDSON thereafter radioed LACKNER to bring the boat to

pick up RICHARDSON and Hunter D.W. at the east end of Ptarmigan Lake.

RICHARDSON, Hunter D.W. and the Dall Sheep hide, horns and meat were transported

across Ptarmigan Lake back to PLL.

      (OA8) On August 12, 2015, LACKNER and Unindicted Co-conspirator A

completed a hunt record which stated that Hunter D.W. took a sheep on August 12, 2015,

in the High Culvert area of WRST.

      (OA9) Hunter D.W. gave RICHARDSON a tip of $1,200.

      (OA10) Hunter D.W. transported the harvested Dall Sheep from Alaska to

Arkansas.

      All of which is in violation of Title 18, United States Code, Section 371.

                                       COUNT 8
                                    FALSE RECORD
                                      (D.W. Sheep)

      54.    Paragraphs 1 through 33 of this Indictment are hereby realleged in their

entirety and incorporated by reference herein.

      55.    On or about August 12, 2015, in the District of Alaska, DALE LACKNER

and Unindicted Co-conspirator A did knowingly make a false record and account of

wildlife, to wit, a false State of Alaska Big Game Commercial Services Board Hunt

Record for a Dall Sheep, in an offense involving the sale and purchase of wildlife with a

market value in excess of $350, to wit, a guided Dall Sheep hunt in WRST, knowing that
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the record and account to be provided to the State of Alaska claimed that Hunter D.W.

killed the Dall Sheep while being guided by LACKNER as the “Licensed Registered

Guide-Outfitter, Class-A or Assistant Guide Accompanying Client in the Field” when in

truth and in fact, as LACKNER and Unindicted Co-conspirator A then knew, no licensed

registered guide-outfitter, Class-A or Assistant Guide was in the field with Hunter D.W.

during the hunt.

       All of which is in violation of Title 16, United States Code, Sections 3372(d)(2)

and 3373(d)(3)(A)(ii), and Title 18, United States Code, Section 2.

                                 COUNT 9
                   CONSPIRACY TO VIOLATE THE LACEY ACT
                                (J.W. Sheep)

       56.    Paragraphs 1 through 33 of this Indictment are hereby re-alleged in their

entirety and incorporated by reference herein.

       57.    Between on or about August 6, 2015, and on or about September 12, 2015,

within the District of Alaska, and elsewhere, CASEY RICHARDSON, DALE

LACKNER, JEFFREY HARRIS, Unindicted Co-conspirator A, and others known and

unknown to the Grand Jury, did knowingly combine, conspire, agree and plan with each

other to commit acts in violation of the laws of the United States, to wit:

       To unlawfully and knowingly sell in interstate commerce wildlife with a market

value in excess of $350, by providing guiding, outfitting and other services, for money

and other consideration, for the illegal taking, transporting and possessing in interstate

commerce of wildlife, that is, a Dall Sheep, knowing that the wildlife had been taken,


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possessed and transported in violation of the laws of the State of Alaska, specifically,

AS 16.05.407.

       In violation of Title 16, United States Code, Sections 3372(a)(2)(A) and

3373(d)(1)(B).

                                 MANNER and MEANS

       58.    The manner and means by which the conspiracy was carried out by the

defendants RICHARDSON, LACKNER, HARRIS, and Unindicted Co-conspirator A

included the following:

       In August 2015, a PLL client Hunter J.W., having made a deposit for a guided

Dall Sheep hunt in Alaska with a registered guide, arrived at the PLL to hunt for Dall

Sheep. Hunter J.W. was not an Alaskan resident and was therefore required to be

accompanied by a registered guide to legally hunt for Dall Sheep in Alaska.

RICHARDSON, who was not an Alaskan resident nor a registered guide, guided Hunter

J.W. on his hunt. Paperwork was filled out falsely by HARRIS and Unindicted Co-

conspirator A to conceal the fact that Hunter J.W. illegally hunted and killed a Dall Sheep

without being accompanied by a registered guide. The Dall Sheep trophy was

transported from the field and shipped in interstate commerce to the state of Minnesota.

                                      OVERT ACTS

       59.    In furtherance of the conspiracy, and to effect the objects thereof, the

following overt acts were committed by the defendants RICHARDSON, LACKNER,

HARRIS, Unindicted Co-conspirator A and others in the District of Alaska and

elsewhere:
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       (OA1)        On August 6, 2015, Hunter J.W. paid an initial deposit of $6,000 by

check to PLL for the hunt; Unindicted Co-conspirator A endorsed the check.

       (OA2)        On August 27, 2015, Hunter J.W. paid an additional $6,000 by check

for a trophy fee; Unindicted Co-conspirator A endorsed the check.

       (OA3)        On August 29, 2015, Hunter J.W. and Unindicted Co-conspirator A

signed an Alaska Big Game Commercial Services Board Guide-Outfitter Contract for a

Dall Sheep, moose and grizzly bear hunt between August 29 and September 12, 2015.

       (OA4)        On August 29, 2015, the first day of the hunt, RICHARDSON,

LACKNER, HARRIS, and Hunter J.W. left the lodge on horses to go sheep hunting;

Unindicted Co-conspirator A stayed behind at PLL and did not accompany Hunter J.W.

into the field.

       (OA5)        RICHARDSON, LACKNER, HARRIS, and Hunter J.W. rode the

horses about 3 hours to a culvert; HARRIS returned to PLL with the horses.

       (OA6)        LACKNER used a spotting scope to spot a herd of sheep.

RICHARDSON and Hunter J.W. moved forward to stalk and shoot the sheep.

        (OA7)       RICHARDSON directed the hunt and advised Hunter J.W. when to

shoot. Hunter J.W. killed a Dall Sheep. LACKNER was 600 to 1000 yards away at the

time of the kill.

       (OA8)        On September 12, 2015, HARRIS and Unindicted Co-conspirator A

completed a hunt record which stated that Hunter J.W. took a sheep on August 29, 2015,

in the Cabin Creek area of WRST.

       (OA9)        RICHARDSON received a tip of $1,200 from Hunter J.W.
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      (OA10)     Hunter J.W. transported the harvested sheep from Alaska to his home

state of Georgia by way of Minnesota.

      All of which is in violation of Title 18, United States Code, Section 371.

                                     COUNT 10
                                 FALSE RECORD
                                    (J.W. Sheep)
                                           `
      60.    Paragraphs 1 through 33 of this Indictment are hereby realleged in their

entirety and incorporated by reference herein.

      61.    On or about September 12, 2015, in the District of Alaska, JEFFREY

HARRIS and Unindicted Co-conspirator A did knowingly make a false record and

account of wildlife, to wit, a false State of Alaska Big Game Commercial Services Board

Hunt Record for a Dall Sheep, in an offense involving the sale and purchase of wildlife

with a market value in excess of $350, to wit, a guided Dall Sheep hunt in WRST,

knowing that the record and account to be provided to the State of Alaska claimed that

Hunter J.W. killed the Dall Sheep while being guided by a PLL licensed guide as the

“Licensed Registered Guide-Outfitter, Class-A or Assistant Guide Accompanying Client

in the Field” when in truth and in fact, as HARRIS and Unindicted Co-conspirator A then

knew, no licensed registered guide-outfitter, Class-A or Assistant Guide was in the field

with Hunter J.W. during the hunt.

      All of which is in violation of Title 16, United States Code, Sections 3372(d)(2)

and 3373(d)(3)(A)(ii), and Title 18, United States Code, Section 2.




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                                COUNT 11
                   CONSPIRACY TO VIOLATE THE LACEY ACT
                                (S.T. Sheep)

       62.    Paragraphs 1 through 33 of this Indictment are hereby realleged in their

entirety and incorporated by reference herein.

       63.    Between on or about June 13, 2015, to on or about December 21,

2015, within the District of Alaska, and elsewhere, CASEY RICHARDSON, JEFFREY

HARRIS, Unindicted Co-conspirator A, and others known and unknown to the Grand

Jury, did knowingly combine, conspire, agree and plan with each other to commit acts in

violation of the laws of the United States, to wit:

       To unlawfully and knowingly sell in interstate commerce wildlife with a market

value in excess of $350, by providing guiding, outfitting and other services, for money

and other consideration, for the illegal taking, acquiring, transporting and possessing in

interstate commerce of wildlife, that is, a Dall Sheep, knowing that the wildlife had been

taken, possessed and transported in violation of the laws of the State of Alaska,

specifically, AS 16.05.407.

       In violation of Title 16, United States Code, Sections 3372(a)(2)(A) and

§ 3373(d)(1)(B).

                                 MANNER and MEANS

       64.    The manner and means by which the conspiracy was carried out by the

defendants RICHARDSON, HARRIS, Unindicted Co-conspirator A, and others in

Alaska included the following:


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       In September 2015, PLL client Hunter S.T., having made a deposit for a guided

Dall Sheep hunt in Alaska with a registered guide, arrived at the PLL to hunt for Dall

Sheep. Hunter S.T. was not an Alaskan resident and was therefore required to be

accompanied by a registered guide to legally hunt for Dall Sheep in Alaska.

RICHARDSON, who was not an Alaskan resident nor a registered guide, guided Hunter

S.T. on his hunt. Paperwork was filled out falsely by HARRIS and Unindicted Co-

conspirator A to conceal the fact that Hunter S.T. illegally hunted and killed a Dall Sheep

without being accompanied by a registered guide. The Dall Sheep trophy was

transported from the field and shipped in interstate commerce to the client hunter’s home

state of Montana.

                                       OVERT ACTS

       65.     In furtherance of the conspiracy, and to effect the objects thereof, the

following overt acts were committed by the defendants RICHARDSON, HARRIS,

Unindicted Co-conspirator A, and others in the District of Alaska and elsewhere:

       (OA1)       From on or about June 13, 2015, to on or about July 8, 2015, in

exchange for a discounted guided hunt at PLL offered by RICHARDSON, Hunter S.T., a

certified flight instructor, flew with RICHARDSON to assist him in getting his high

performance, “tail dragger” and complex rating for flying in support of RICHARDSON’s

pilot’s license.

       (OA2)       On July 29, 2015, Hunter S.T. paid an initial deposit of $5,000 by check

to RICHARDSON for the hunt.


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      (OA3)      On September 14, 2015, Hunter S.T. and Unindicted Co-conspirator A

signed an Alaska Big Game Commercial Services Board Guide-Outfitter Contract for a

Dall Sheep hunt between September 13 and September 30, 2015.

      (OA4)      On September 13, 2015, RICHARDSON glassed the hills with Hunter

S.T. and indicated that a herd of Dall Sheep he was glassing contained Dall Sheep that

were legal to kill. Hunter S.T. thereafter harvested a Dall Sheep in Game Management

Unit 12, in the Wrangell Mountain Range, between Beaver Creek and the White River.

      (OA5)      On September 13, 2015, RICHARDSON, using a Delorme In Reach

GPS/Communicator unit, texted HARRIS, “Ram down! 100% head of dry wash will be

out dark or so. Dead in a nice safe easy spot.”

      (OA6)      On October 1, 2015, HARRIS and Unindicted Co-conspirator A

completed a hunt record which stated that Hunter S.T. took a sheep on September 13,

2015, in the Rocker Creek area of WRST.

      (OA7)      On December 21, 2015, Hunter S.T. paid a final payment of $5,000 by

check to RICHARDSON for the hunt trophy fee.

      (OA8)      Hunter S.T. transported the harvested sheep from Alaska to Montana.

      All of which is in violation of Title 18, United States Code, Section 371.

                                     COUNT 12
                                   FALSE RECORD
                                     (S.T. Sheep)

      66.     Paragraphs 1 through 33 of this Indictment are hereby realleged in their

entirety and incorporated by reference herein.


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       67.    On or about October 1, 2015, in the District of Alaska, JEFFREY HARRIS

and Unindicted Co-conspirator A did knowingly make a false record and account of

wildlife, to wit, a false State of Alaska Big Game Commercial Services Board Hunt

Record for a Dall Sheep, in an offense involving the sale and purchase of wildlife with a

market value in excess of $350, to wit, a guided Dall Sheep hunt in WRST, knowing that

the record and account to be provided to the State of Alaska claimed that Hunter S.T.

killed the Dall Sheep while being guided by a PLL licensed guide as the “Licensed

Registered Guide-Outfitter, Class-A or Assistant Guide Accompanying Client in the

Field” when in truth and in fact, HARRIS and Unindicted Co-conspirator A then knew,

no licensed registered guide-outfitter, Class-A or Assistant Guide was in the field with

Hunter S.T. during the hunt.

       All of which is in violation of Title 16, United States Code, Sections 3372(d)(2)

and 3373(d)(3)(A)(ii), and Title 18, United States Code, Section 2.

                                     COUNT 13
                                 FALSE STATEMENT
                                     (S.T. Sheep)

       68.    Paragraphs 1 through 33 of this Indictment are hereby realleged in their

entirety and incorporated by reference herein.

       69.    On or about May 25, 2016, within the District of Alaska, the defendant

JEFFREY HARRIS did willfully and knowingly make a materially false, fictitious, and

fraudulent statement and representation in a matter within the jurisdiction of the

executive branch of the Government of the United States, to wit: the Department of

Interior, U.S. Fish and Wildlife Service, by stating that LACKNER was present with
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Hunter S.T. when he killed his sheep. The statement and representation was false

because, as HARRIS then and there knew only RICHARDSON was with Hunter S.T.

when he killed the Dall Sheep and RICHARDSON was not a licensed registered guide-

outfitter, Class-A or Assistant Guide at that time.

       All of which is in violation of Title 18, United States Code, Section 1001(a)(2).

                                     COUNT 14
                              UNLAWFUL BAITING OF GAME

       70.    Paragraphs 1 through 33 of this Indictment are hereby realleged in their

entirety and incorporated by reference herein.

       71.    Between on or about August 20, 2014 and May 25, 2016, JEFFREY

HARRIS and Unindicted Co-conspirator A established illegal bear bait stations in the

WRST as a means of predator control without first obtaining a permit from the State of

Alaska, Department of Fish and Game, and in an area where bear bait stations were not

permitted by the State of Alaska, Department of Fish and Game, nor the NPS.

       All of which is in violation of Title 5, AAC, Chapter 92.044(a), incorporated and

made applicable within WRST by Title 36, Code of Federal Regulations,

Section 2.2(b)(4), and Title 18, United States Code, Section 2.

                            COUNT 15
       CONSPIRACY TO USE SUBSTANCE TO INCAPACITATE GAME

       72.    Paragraphs 1 through 33 of this Indictment are hereby realleged in their

entirety and incorporated by reference herein.

       73.    From on or about June 6, 2015, through on or about May 25, 2016, CASEY

RICHARDSON, JEFFREY HARRIS, Unindicted Co-conspirator A, and others known
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and unknown with to the Grand Jury, did knowingly combine, conspire, agree and plan

with each other to commit acts in violation of the laws of the United States, to wit:

       Distribute and use a substance which temporarily incapacitates game, to wit:

xylitol, a substance which incapacitates and kills canines, including wolves, by

interfering with the processing of their internal organs resulting in death, as a means of

predator control.

       In violation of Title 5, Alaska Administrative Code, Chapter 92.080(2), which is

incorporated and made applicable within WRST by Title 36, Code of Federal Regulations,

Section 2.2(a)(2), and, as of January 16, 2016, Title 36, Code of Federal Regulations,

Section 13.42(g)(2).

                                 MANNER and MEANS

       74.    The manner and means by which the conspiracy was carried out by the

defendants RICHARDSON, HARRIS, Unindicted Co-conspirator A, and others in

Alaska included the following:

       In order to limit the local and transient wolf population in and around PLL and to

increase the Dall Sheep and moose populations, the defendants RICHARDSON,

HARRIS, Unindicted Co-conspirator A, and others in Alaska, used xylitol, a substance

deadly to canines, by distributing xylitol on bait piles and in rabbit carcasses for

predators, including wolves, to consume.

                                      OVERT ACTS

       75.    In furtherance of the conspiracy, and to effect the objects thereof, the

following overt acts were committed by the defendants RICHARDSON, HARRIS,
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Unindicted Co-conspirator A and others in the District of Alaska and elsewhere:

       (OA1)     On June 6, 2015, while communicating on RICHARDSON’S Facebook

account, HARRIS wrote to RICHARDSON, “what’s that sweetner [sic] you said that

kills wolves?” RICHARDSON replied, “Zyletol [xylitol].” RICHARDSON sent

HARRIS a link regarding xylitol toxicity to dogs.

       (OA2)     On September 27, 2015, while communicating on RICHARDSON’S

Facebook account, HARRIS wrote to RICHARDSON, “We’re gonna kill a couple

rabbits and fill them with zylotol[xylitol]…And hang them about 3ft up around the bait

pile….With 4lb test line. Let them snatch them and have a sweet treat.” RICHARDSON

responded, “Excellent.”

       (OA3)     On September 28, 2015, Unindicted Co-conspirator A purchased three

bags of xylitol, each weighing 2.5 pounds, at the Sunshine Health Food Store in

Fairbanks, Alaska.

       (OA4)     On November 10, 2015, Unindicted Co-conspirator A purchased three

bags of xylitol, each weighing 2.5 pounds, at the Sunshine Health Food Store in

Fairbanks, Alaska.

       (OA5)     On November 24, 2015, HARRIS, communicating on his Facebook

account, wrote to the winter caretaker at PLL, “Don’t forget the Xylotol[xylitol]. Make

meatballs and put it in the very middle if [of] the [frozen] lake. They will be dead before

they can leave the lake.”

       (OA6)     On May 25, 2016, HARRIS and Unindicted Co-conspirator A possessed

five bags of xylitol, each weighing 2.5 pounds, at the PLL.
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      All of which is in violation of Title 18, United States Code, Section 371.

      A TRUE BILL.


                                         s/ Grand Jury Foreperson
                                         GRAND JURY FOREPERSON



s/ Retta-Rae Randall
RETTA-RAE RANDALL
United States of America
Assistant U.S. Attorney



s/ Bryan Schroder
BRYAN SCHRODER
United States of America
Acting United States Attorney




DATE:        8-15-17




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